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                                 132496



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


  In Re: COOK MEDICAL, INC., IVC      )
  FILTERS MARKETING, SALES            )
  PRACTICES AND PRODUCT               )
  LIABILITY LITIGATION                )                1:14-ml-02570-RLY-TAB
  ___________________________________ )                MDL No. 2570
                                      )
  This Document Relates to:           )
                                      )
  Julie Wilson                        )
  1:17-cv-3050-RLY-TAB                )
  ___________________________________ )


                                 FINAL JUDGMENT
      Pursuant to the Order issued this day, the court enters final judgment in favor of

the Cook Defendants—Cook Incorporated, Cook Medical LLC (f/k/a Cook Medical

Incorporated), and William Cook Europe APS—and against the Plaintiff herein.



SO ORDERED this 20th day of July 2022.


Roger Sharpe, Clerk
United States District Court                    s/RLY

______________________
By: Deputy Clerk




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